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Lee Arthur Rice ll
16433 North Midland Boulevard #83

Nampa, Idaho
208-570-2521

 

 

 

In the district court of the United States for Idaho

 

MURAKAMI; and, JOHN DOES l-ZO,

Defendants.

) § .,, n n ,
Lee Arthur nice H, § CASE NO. § 3 w Mli/H CMY
Plainaff, §
)
'VS" )
) VERIFIED CoMPLAiNT
CITY oF BoIsE CITY; CoUNTY oF ADA; )
CITY oF MERIDIAN; IDAHo STATE § and
PoLICE; sTATE oF IDAHo; JANET g DEMAND FOR TRIAL BY mRY
)
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COMES NOW, Plaintiff Lee Arthur Rice II, for causes of action in a suit in equity

against the above-named Defendants, COMPLAINS AND ALLEGES as follows:

PARTIES, JURISDICTION AND VENUE
l. At all times relevant to the allegations herein, Plaintiff Lee Axthur Rice II (hereinafter,

“Rice”) Was and is domiciled in the state and district of Idaho.

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2. At all times relevant to the allegations herein, Plaintiff possessed Rights protected,
secured and guaranteed by the National Constitution.

3. At all times relevant to the allegations herein, the acts or omissions of the Defendants
were intentional.

4. At all times relevant to the allegations herein, the acts or omissions of the Defendants
caused constitutional deprivations

5. Plaintiff is the real party in interest

6. Plaintiff is entitled to the relief requested herein.

7. At all times relevant to the allegations herein, the City of Boise City Was a political
subdivision of the State of Idaho.

8. At all times relevant to the allegations herein, the County of Ada Was a political
subdivision of the State of ldaho.

9. At all times relevant to the allegations herein, the City of Meridian Was a political
subdivision of the State of ldaho.

lO. At all times relevant to the allegations herein, the Idaho State Police Was an agency
and/or political subdivision of the State of Idaho.

ll. Defendant State of Idaho Was, at all times relevant, acting under color of law.

12. Tlne other named-Defendants were, at all times relevant, acting under color of law and/or
color of process

13. Dei`endant Janet Murakami Was an officer and agent of the Idaho State Police at all
relevant times.

14. At all times relevant to the allegations herein, JOHN DOES l-20 Were ofticers,

employees, and/or agents of the Defendants listed above.

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15. Each of the said Defendants is being sued in their personal-capacity (individual-capacity)
and in their official capacity.
16. This action arises pursuant to 62 Stat. 930; Pub. L. 85-554, June 25, 1948, ch. 646,
codified at 28 U.S.C. § 1331 and pursuant to R.S. § 1979; Pub. L. 96-170, § l, Dec. 29, 1979, 93
Stat. 1284; Pub. L. 104-317; R.S. § 1979 derived from act Apr. 2(), 1871, ch. 22, § 1, 17 Stat. 13,
codified at 42 U.S.C § 1983.
17. All of the acts complained of occurred iri the state and district of Idaho making
jurisdiction proper in this Court.
18. Venue is appropriate pursuant to 62 Stat. 935; Pub. L. 87-748, June 25, 1948, ch. 646,
codified at 28 § 1391(a)(1); (b)(l) and (2); and (c)(l) and (2).

FACTUAL ALLEGATIONS
19. On December 26, 2011, Mr. Rice Was traveling with his family, westbound on 1-84, in his
automobile, his personal private property, hereinafter “car.”
20. ldaho State Trooper Janet Murakami, hereinafter “Trooper Murakami,” initiated an
unlawful traffic stop upon Mr. Rice.
21. Trooper Mural<ami illegally “seized” Mr. Riee’s car.
22. Mr. Rice pulled his car to the side of the road and Trooper Murakami approached the car.
23. Mr. Rice was in possession of a valid and current driver’s license.
24. When asked to provide his driver’s license, through his partially opened window, Mr.
Rice fully and honestly identified himself to Trooper Murakami.
25. ln response, Trooper Murakami communicated to dispatch and improperly requested a
“Code 3 response.”
26. According to Boise Police Chief Michael Masterson, “A ‘Code 3 response’ from police
needs to be reserved for life and death emergency calls. This review insures that, and reassures

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the public that the Boise Police Department is doing all it can to balance emergencies with the
safety of motorists and others on the road.” httD://police.citvofboise.org/home/news-=
releases/2009/02/02-03-09-code-3-police-response-changes/

27. The unlawful traffic stop was not a “1ife and death emergency.”

28. According to Boise Comrnunity Ombudsman Pierce Mui'phy, “Every time a police
vehicle rolls ‘Code 3’ the risk of collision and injury is increased for both officers and the
general public.” http://police.citvofboise.org/home/news-releases/Z()O8/03/03-l l-OS~code-3-
response~study/

29. By improperly requesting a “Code 3 response” Trooper Murakami increased the risk of
collision and injury, unnecessarily endangering both the officers involved and the general public.

30. Trooper Murakami’s unwarranted and improper action may rise to the level of “reckless
endangerment.”

31. In response, and as a direct result of Trooper Murakami’s improper request, more than a
dozen officers among various agencies were dispatched to the scene.

32. Trooper Murakami assaulted Mr. Rice by Wielding her baton and orally threatening to
shatter the window, despite the fact that Mr. Rice and his family members, including children,
Were in close proximity to the window.

33. Mr. Rice was forcibly removed from his car, even though Mr. Rice was not resisting

34. After Mr. Rice was forcibly removed from his car, he walked to the rear of the car and
still was not resisting in any way.

35. Upon reaching the rear of the car, an officer intentionally stuck his foot out in front of

Mr. Rice’s right ankle.

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36. The officer, on Mr. Rice’s right side, and another officer, on his left side, pulled Mr. Rice
forward by his shoulders, tripping Mr. Rice over the officer’s foot, and forcibly throwing him to
the ground, face first, Where he was handcuffed

37. Once he Was on the ground, officers intentionally and repeatedly struck Mr. Rice in the
torso, hips and back.

38. The officers used excessive and unnecessary force in removing Mr. Rice from his
vehicle, throwing him to the ground, and in handcuffing him, directly and intentionally causing
personal injuries to Mr. Rice.

39. Mr. Rice Was arrested and charged with resisting or obstiucting officers in violation of
Idaho Code § 18-705 and for failing to purchase or maintain a valid driver’s license in violation
of Idaho Code § 49-301(1).

40. Subsequent to the arrest, Trooper Murakami falsely said to another officer on the scene
that the reason she pulled Mr. Rice over was because she “was worried about him” since “he was
swerving” and she “thought he may have been drinking.”

41. At no time did Trooper Murakami accuse Mr. Rice of driving while under the influence,
hereinafter “DUI.”

42. At no time did Trooper Murakami ask Mr. Rice if he had been drinkingl

43. At no time was Mr. Rice administered a field sobriety test.

44. Mr. Rice Was not charged with DUI.

45. The dash-cam video recording of the stop, made by Trooper Murakami herself, and
plainly contradicting her statement above, regarding Mr. Rice’s pattern of driving, clearly shows
that Mr. Rice was traveling straight down the highway, not swerving, using his turn signals When

changing lanes, and in complete control of his car at all times.

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46. At a hearing in the Idaho State criminal action, after viewing the dash-cam video, District
Judge Steckel determined that Mr. Rice’s driving fell within the broad range of normal driving
behavior and that, referring to Trooper Murakami, “she had no reason to pull him over.”

47. Mr. Rice was taken to the Ada County jail where he was further assaulted by officers for
not “sitting down.”

48. Mr. Rice continued to be handcuffed and Was in extreme pain from the assault and
battery on the highway during the stop.

49. When he arrived at the Ada County jail, Mr. Rice was in possession of thirty dollars
($30.00) in lawful cui‘rency.

50. This property was taken from him and never returned

51. When he Was discharged from the jail, he was instead given a “debit card” to which he
never consented

52. This debit card carrie with fees and other conditions to Which Mr. Rice never authorized
53. Upon information and belief, it is the practice of the Ada County jail to confiscate all
cash on every prisoner and to provide them with a debit card upon release.

54. ln the Idaho State criminal action, Mr. Rice, acting in propria persona, submitted a
motion to suppress based on the fact that Officer Murakami lacked probable cause or reasonable
suspicion to stop his vehicle on December 26, 2011.

55. On or about May 8, 2012, Idaho District Judge Steckel granted the Motion to Suppress
finding that no probable cause or reasonable suspicion existed to stop the vehicle.

56. The State then filed a Motion to Reconsider that decision

5 7. The State’s Motion to Reconsider Was denied

58. On or about June 5, 2012, the criminal action was dismissed upon the State’s motion.

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COUNT I
Deprivation of Rights/Municipal Liability
(42 U.S.C. § 1983)
59. Plaintiff realleges and incorporates the preceding paragraphs of this Complaint as if they
were fully set forth herein.
60. The Idaho State Police, the City of Boise City, the City of Meridian, and the County of
Ada’s edicts and/or acts and/or omissions in failing to properly train and/or supervise
subordinates in the respective agencies represents official policy and/or custom of those
agencies and of the State of Idaho.
61. These agencies possessed final authority to establish agency policy with respect to
training and Supervising subordinate employees in the respective offices ~ an administrative task
associated With those offices
62. At all times relevant, the respective agencies knew, to a moral certainty, that employees
Within the agencies would face situations Where proper amounts of force in effectuating arrests
and would require training and/or supervision to adequately protect the Rights of the public and
of Citizens.
63. The above-named agencies further appreciated that through proper and focused training,
supervision and discipline of employees the choices these employees would be required to make
regarding ensuring probable cause before initiated stops, calling in codes to dispatch, proper use
of force to effectuate arrests, and charging decisions would be less difficult to make and, When
made correctly, Would ensure the preservation of the public’s constitutional Rights.
64. By choice, neglect or reckless indifference, the above named agencies and political

subdivisions and others responsible for establishing, promoting and enforcing the policies of the

State of Idaho affecting officers and other employees either:

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a. Made it the custom, rule or practice, or caused it to be the custom, rule or practice
to stop vehicles without probable cause;

b. l\/Iade it the custom, rule or practice, or caused it to be the custom, rule or practice
to call in codes that are more dangerous and serious than warranted thereby increasing the risk of
danger to citizens and the public;

c. Made it the custom, rule or practice, or caused it to be the custom, rule or practice
to use excessive force when questioning a suspect or effectuating an arrest;

d Made it the custom, rule or practice, or caused it to be the custom, rule or practice
to conduct illegal seizures of individuals and their property;

e. Failed or refused to adequately supervise employees regarding the above
described conduct;

f. Failed or refused to promptly and appropriately discipline employees and officer
who caused the above described conduct
65. Further, the above-named Defendants violated Mr. Rice’S constitutional Rights pursuant
to the First, Fourth, Fifth, Eighth and Fourteenth Amendinents to the United States Constitution
through their intentional and/or negligent and/or criminally negligent acts of assault, battery,
excessive force, false arrest and false imprisonment
66. Further, the actions of the above-named Defendants constitute “municipal action.”

67. As a direct and proximate result of the foregoing, there existed a climate, policy and/or
custom of deliberate indifference to the constitutional Rights of the Plaintiff at the above-named
agencies and political subdivisions of the State of Idaho.

68. The above facts in Count l establish “municipal liability” because the “municipal action”
was taken with the requisite degree of culpability and was affirmatively and causally linked to
the deprivation of a federal iight.

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69. The inactions and/or omissions of these agencies employees and individuals were taken
or omitted under color of State law, involved State action and municipal action, and caused the
deprivation of the Plaintiffs Rights under the First, Fourth, Fifth, Eighth and Fourteenth
Amendments of the United States Constitution and comparable provisions of the ldaho
Constitution and other laws, and caused the constitutional deprivations as well as causing the
Plaintiff to suffer substantial injury, loss and damage

COUNT II
Gross Negligence/ Deliberate Indifference

70. Plaintiff realleges and incorporates the preceding paragraphs of this Complaint as if they
were fully set forth herein.

71. Defendants owed a duty of care toward Plaintiff not to abridge his constitutionally
protected Rights.

72. Defendants were grossly negligent and/or deliberately indifferent in that they violated
Plaintiff’s constitutional Rights on multiple occasions

73. Defendants’ acts and omissions were grossly negligent as distinguished from being
ordinarily negligent in that the negligence of Defendants involved willful, reckless, and/or
intentional so that there was not just an absence of ordinary care that should have been exercised
toward Plaintiff, but Defendants’ conduct exhibited a degree of negligence and lack of care
substantially greater than that which constitutes ordinary negligence

74. As a direct and proximate result of Defendants’ grossly negligent conduct, Plaintiff has
suffered damage in an amount exceeding $100,00(), to be determined at trial.

COUNT III
Intentional/Negligent Infliction of Emotional Distress

75. Plaintiff realleges and incorporates the preceding paragraphs of this Complaint as if they
were fully set forth herein.

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76. Defendants’ acts and/or omissions were intentional and/or reckless were made with a
blatant disregard for the Plaintiff’s Rights, and fell below the applicable standards of care owed
to the Plaintiff by the Defendants at the times and places in question

77 . Defendants’ intentional acts and/or omissions were extreme and outrageous constituting
an extreme deviation nom reasonable standards of conduct and fell below the applicable
standards of care owed to the Plaintiff by the Defendants at the times and places alleged
hereinabove

78. As a direct and proximate cause of the Defendants’ acts and/or omissions, Plaintiff has
suffered severe mental and emotional distress, physical pain and suffering and illness, as well as
defamation of character, damage to reputation, fiight, nervousness, grief, anxiety, worry,
mortification, shock, humiliation, indignity, embarrassment apprehension, terror and ordeal.

79. As such, Plaintiff is entitled to recover monetary damages from Defendants representing
fair and reasonable compensation for the physical and emotional distress suffered by Plaintiff as
a result of the wrongful conduct alleged hereinabove in an amount to be proven at trial.

COUNT IV
Breach of Bailment Agreement

8(). Plaintiff realleges and incorporates the preceding paragraphs of this Complaint as if they
were fully set forth herein.

81. Defendants’ seizure of Plaintiff" s cash upon arrest created a bailment agreement by laW.
82. By refusing and failing to return to Plaintiff his seized property, Defendants breached that
agreement

83. By subjecting Plaintiff to fees, conditions and other terms of a third party to which he did

not agree, Defendants breached the bailment agreement

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84. Defendants’ actions in creating and administering a system by which every prisoner
carrying cash money is subjected to the same conduct was willful, malicious, reckless, grossly
negligent and wanton.

85. As a direct and proximate result of Defendants’ actions Plaintiff has suffered damages in
an amount to be proven at trial. .

COUNT V
Class Action

86. Plaintiff realleges and incorporates the preceding paragraphs of this Complaint as if they
were fully set forth herein.
87. The class in this case is likely in the thousands thereby making joinder of all members
impracticable
88. The questions of law and fact with regard to Defendants’ breach of the bailment
agreement are common to all members
89. The claims of the representative party are typical of the claims of the class
90. The representative party will fairly and adequately protect the interests of the class
RE()UEST FOR ATT()RNEY FEES

Plaintiff is entitled to an award of his reasonable attorney fees and costs of suit pursuant
to R.S. §722 (derived from acts Apr. 9, 1866, ch. 31, § 3), 14 Stat. 27; Pub. L. 94-559, §2,
codified at 42 U.S.C. § 1988, and all other applicable law.

DEMAND FOR TRIAL BY JURY

Plaintiff demands a trial by jury of no less than twelve (12) persons on all issues so
triable pursuant to Article the seventh of the Bill of Rights; and, for the preservation of the
constitutional right of trial by jury as directed in the enabling act (act of June 19, 1934, 48 Stat.
1064), F.R.C.P. Rule 38, Federal Rules of Civil Procedure; and 62 Stat. 951; Pub. L. 85-315, part

V, § 152, codified at 28 USC § 1861.
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REOUEST FOR RELIEF

 

WHEREFORE, Plaintiff prays for Judgment of this Court as follows:
1. For money damages to Plaintiff Lee Arthur Rice ll from Defendants in excess of

$100,000 in a sum to be determined at trial;

2. For punitive damages in a sum to be determined at trial.

3. For Plaintiff’s reasonable attorney fees incurred in prosecuting this action;

4. For costs of suit herein;

5 . For an order certifying a class of Plaintiffs as requested herein, pursuant to

F.R.C.P. Rule 23, Federal Rules of Civil Procedure, upon further motion by Plaintiff;

6 . Defendant be required to pay to all class members, once certified:

(a) Damages for the costs and expenses of improperly diverted monetary funds;

(b) General damages for the account holders in an amount to be proven at trial;

(c) Attorney fees and costs, pursuant 42 U.S.C. § 1988 and any other applicable law;
and,

7. For such other and further relief as the Court deems just and equitable

Respectfully submitted

  

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ACKNOWLEDGEMENT AND JURAT BASED ON PERSONAL KNOWLEDGE

I, Lee Arthur Rice II, Plaintiff, swear that 1 am domiciled in the
state of Idaho. I swear that I have first hand personal knowledge
of the facts alleged in this VERIFIED COMPLAINT and that the
information contained in this VERIFIED COMPLAINT is true,

correct and complete

 

 

S f Id h ) Signature of Plaintiff:
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) ss: B!:samé/é/ twa 5 @M;:
COUnty Of Ada ) Lee Arthur Rice ll `
058 ‘?""»'rf’r"/i
. . . ' H/i ~’
Signed and sworn to before me this the »-»@"C"f of day of the -f-i-&h-month,

A.D. twenty thirteen, to certify which, witness my hand and seal of office

[l Personally known to me

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Notary Public
State ot idaho

 
   
 

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CERTIFICATE OF SERVICE
I, the undersigned HEREBY CERTIFY that on this day
of the month, A.D. twenty-thirteen, a true, correct and complete copy

 

of the Complaint was sent postage pre-paid by the method indicated below to the following

individual at the following address:

 

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First Class Mail
Certified Mail
Registered Mail
Overnight Mail
Hand Delivered
FAX

Other

 

 

Lee Arthur Rice 11

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